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                                  Adams Law Group LLC
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                                      98 Lafayette Avenue
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                                                              November 19, 2020

Howard Magaliff, Chapter 7 Trustee
Rich Michaelson & Magaliff, LLP
335 Madison Avenue, Ninth Floor
New York, New York 10017

Filed Via ECF

                                      Re:     In Re: Esquire Land Services LTD I
                                              Case Number 20-23069-rdd



Dear Mr. Magaliff,

       This is to confirm that the Section 341 Meeting has been adjourned to December 18,
2020 at 9:00 A.M. and that I have agreed to serve all creditors with a copy of this letter. I thank
you for your attention to this matter.


                                                      Sincerely,

                                                      /s/ Benjamin M. Adams

                                                      Benjamin M. Adams
